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 1

 2
                      IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
 3
                            DIVISION OF ST. THOMAS AND ST. JOHN
 4
   MEAGHAN RICHARDSON, CYRIL                           CIVIL CASE NO.
 5 RICHARDSON,
                                                       COMPLAINT FOR DAMAGES
 6                 Plaintiffs,
                                                       JURY TRIAL DEMANDED
 7          v.

 8 THE ATTORNEY GENERAL OF THE
   BRITISH VIRGIN ISLANDS, RANDY
 9 DONOVAN,
10                 Defendants.

11

12

13         Plaintiffs, MEAGHAN RICHARDSON and CYRIL RICHARDSON, hereby alleges as

14 follows:

15                  ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

16                                                     I.

17                                            JURISDICTION

18         1.    Plaintiffs, MEAGHAN RICHARDSON and CYRIL RICHARDSON, are residents

19 of the Territory of the United States Virgin Islands.
20         2.      Plaintiffs are informed and believe, and based thereupon allege, that defendant,

21 THE ATTORNEY GENERAL OF THE BRITISH VIRGIN ISLANDS, is the legal representative

22 of the Government of the British Virgin Islands, and is the party to be named in civil actions

23 against the Government of the British Virgin Islands.

24         3.      Plaintiffs are informed and believe, and based thereupon allege, that at all times

25 herein mentioned, defendant, RANDY DONOVAN, was a Custom Officer II, within the Office

26 of the Comptroller of Customs within the Government of the British Virgin Islands, and residing

27 within the British Virgin Islands. Plaintiffs are further informed and believe, and based thereupon

28 allege, that at all times herein mentioned, defendant RANDY DONOVAN, is, and was, acting


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 1 as a Servant of the Crown of the Government of the British Virgin Islands.

 2         4.      Plaintiffs are informed and believe, and based thereupon allege, that all times herein

 3 mentioned, defendant RANDY DONOVAN, while as a Servant of the Crown of the Government

 4 of the British Virgin Islands, was operating a vessel owned by the Government of the British

 5 Virgin Islands within the Territorial waters of the United States Virgin Islands.

 6         5.       The citizenship of plaintiffs and defendants are diverse and the amount in

 7 controversy, exclusive of interests and costs, exceeds the sum of Seventy-Five Thousand Dollars

 8 ($75,000.00). Therefore, this Court has jurisdiction over the matter pursuant to 28. U.S.C.§

 9 1332.
10         6.      This suit herein arises and is also within the Admiralty and Maritime jurisdiction of

11 the above-entitled court pursuant to 46 U.S.C. § 740, et seq., and 28 U.S.C. § 1333(1).

12                                                    II.

13                                    FIRST CAUSE OF ACTION
                                       (MEAGHAN Richardson)
14

15         7.     Plaintiff, MEAGHAN RICHARDSON, realleges paragraphs 1 through 6, and

16 incorporates the same be reference as though fully ser forth herein.

17          8.     Plaintiff is informed and believes, and based thereupon alleges, that at all times

18 herein mentioned, defendant, RANDY DONOVAN, was acting as a Servant of the Crown of the

19 Government of the British Virgin Islands and was operating a vessel within the Territorial waters
20 of the United States Virgin Islands, and more specifically, the Territorial waters north and east

21 of St. John.

22          9.     On or about December 1, 2007, at or near 9:00 p.m., plaintiff, MEAGHAN

23 RICHARDSON, along with 5 other persons, were passengers on a 26 foot fiberglass power boat,

24 registration number VI9653TA and registered as the M/V “Guilt Trip”, which was owned and

25 operated by Ryan Uszenski.

26          10.    At all times herein mentioned, the M/V “Guilt Trip” was operating with the

27 Territorial waters of the United States Virgin Islands. While within the territorial waters of the

28 United States Virgin Islands, and specifically within 1 nautical mile due north of Flanagan Island,
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 1 and at or near 9:14 pm, the M/V “Guilt Trip” was stopped by defendant RANDY DONOVAN

 2 acting as a Servant of the Crown of the Government of the British Virgin Islands.

 3          11.    At that time and place, defendant, RANDY DONOVAN, ordered plaintiff,

 4 MEAGHAN RICHARDSON and the five other passengers into a 28 foot Wellcraft Scarab, owned

 5 by the Government of the British Virgin Islands, under the guise that the M/V “Guilt Trip” was

 6 within the waters of the British Virgin Islands. Plaintiff, along with the other passengers,

 7 complied with the orders of defendant, RANDY DONOVAN, even though the M/V “Guilt Trip”

 8 had not left the Territorial waters of the United States Virgin Islands. Defendant, RANDY

 9 DONOVAN, ordered Ryan Uszenski and another currently unidentified British Virgin Islands
10 customs officer, to remain in the M/V “Guilt Trip”. The unidentified customs officer took control

11 of the M/V “Guilt Trip”.

12          12.    Once all the passengers were in the 27 foot Wellcraft Scarab, defendant, RANDY

13 DONOVAN, began to throttle up the engines of his vessel. At this time, there were 7 persons on

14 the Wellcraft Scarab and the vessel was not getting up on plane. Defendant, RANDY

15 DONOVAN, began to trim the engines and was looking to the stern of the vessel while he was

16 throttling up the vessel.

17          13.    During the time that defendant, RANDY DONOVAN, was throttling up the vessel,

18 defendant was not maintaining a proper look out as required by 33 U.S.C. §§ 1601-1608 (Rule

19 5 - look out); was not maintaining a safe speed as required by 33 U.S.C. §§ 1601-1608 (Rule 6 -
20 safe speed); failed to use all available means appropriate to the prevailing circumstances to avoid

21 a risk of collision as required by 33 U.S.C. §§ 1601-1608 (Rule 7 - risk of collision); failed to

22 take action to avoid the risk of collision 33 U.S.C. §§ 1601-1608 (Rule 8 - action to avoid risk

23 of collision); failed to following the crossing situation rules as required by 33 U.S.C. §§ 1601-

24 1608 (Rule 15- crossing situation); failed to take appropriate action by give way vessel as required

25 by 33 U.S.C. §§ 1601-1608 (Rule 16 - action by give way vessel); failed to take appropriate

26 responsibility between vessels as required by 33 U.S.C. §§ 1601-1608 (Rule 18 - responsibilities

27 between vessels).

28          14.    The conduct of defendant, RANDY DONOVAN, in acting as a Servant of the
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 1 Crown of the British Virgin Islands and in operating a vessel owned by the Government of the

 2 British Virgin Islands was negligent and careless and resulted in substantial injuries to plaintiff,

 3 MEAGHAN RICHARDSON, as herein alleged.

 4          15.     As a direct and proximate result of the negligence and carelessness of defendants,

 5 RANDY DONOVAN and THE ATTORNEY GENERAL OF THE BRITISH VIRGIN ISLANDS,

 6 the vessel operated by RANDY DONOVAN and owned by the Government of the Virgin Islands

 7 collided with the stern of the M/V “Guilt Trip”, resulting in plaintiff, MEAGHAN

 8 RICHARDSON, being thrown forward and sustaining serious personal injuries and damages.

 9          16.     Plaintiff is informed and believes, and based thereupon alleges, that defendants

10 were negligent and careless in the use and operation of their vessel in that defendants failed to use

11 that degree of skill and prudence as a reasonable captain, as set forth above, and that as a direct

12 and proximate result of defendants negligence and carelessness, plaintiff sustained injuries and

13 damages.

14          17.     Plaintiff is further informed and believes, and based thereupon alleges, that a direct

15 and proximate cause of plaintiff' s injuries was the negligence and carelessness of defendants, and

16 each of them, in the use and operation of their vessel within the Territorial waters of the United

17 States Virgin Islands.

18          18.     As a direct and proximate result of the negligence of defendant, as hereinabove

19 alleged, plaintiff, MEAGHAN RICHARDSON, was hurt and injured in her health, strength and
20 activity, in all parts of her body, and sustained shock and injury to her nervous system and

21 person, all of which injuries have caused and continue to cause plaintiff great mental, physical and

22 nervous anxiety, and pain and suffering. Plaintiff, MEAGHAN RICHARDSON, is informed and

23 believes and thereon alleges, that these injuries will result in some permanent disability to

24 plaintiff, all to her general damage, in an amount to be proven at time of trial.

25          19.      As a further direct and proximate result of the negligence of defendant as

26 hereinabove alleged, plaintiff, MEAGHAN RICHARDSON, was required to, and did, employ

27 physicians, surgeons and therapists to treat and care for her, and did sustain expenses for such

28 medical treatment and care, hospitalization, medicine, and for other and further medical and
                                                       -4-

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 1 incidental care, for which plaintiff has incurred liability in an amount as yet unascertained.

 2 Plaintiff, MEAGHAN RICHARDSON, prays leave of Court to amend and/or supplement this

 3 Complaint to insert the actual and reasonable value of all medical and incidental expenses when

 4 same have been ascertained, or to prove same at time of trial.

 5          20.      Plaintiff, MEAGHAN RICHARDSON, is informed and believes, and based

 6 thereupon alleges, that as a further direct and proximate result of the negligence of defendant, as

 7 hereinabove alleged, she will necessarily require additional medical care, hospitalization,

 8 medicines, and other and further medical attention in the future and will incur liability therefrom.

 9 Plaintiff, MEAGHAN RICHARDSON, CYRIL RICHARDSON, prays leave of Court to amend
10 and/or supplement this Complaint to insert the actual and reasonable value of all such additional

11 medical and incidental expenses when same have been ascertained, or to prove same at time of

12 trial.

13          21.     As a further direct and proximate result of the negligence of defendant, as

14 hereinabove alleged, plaintiff, MEAGHAN RICHARDSON, became incapacitated and was

15 prevented from following her usual occupation for an undetermined period of time; and as a result

16 thereof, plaintiff suffered a loss of earnings and earning capacity and ability and other financial

17 losses in an undetermined amount.               Plaintiff, MEAGHAN RICHARDSON, CYRIL

18 RICHARDSON, prays leave of Court to amend and/or supplement this Complaint to include the

19 exact amount of said loss of earnings and earning capacity and ability when ascertained, or to
20 prove same at time of trial.

21                                                    III.

22                                   SECOND CAUSE OF ACTION
                                         (Cyril Richardson)
23

24          22.    Plaintiff realleges paragraph 1 through 21, and incorporates the same by reference

25 as a part hereof as though fully set forth herein.

26          23.     Plaintiff is informed and believes, and based thereupon alleges, that at all times

27 herein mentioned, defendant, RANDY DONOVAN, was acting as a Servant of the Crown of the

28 Government of the British Virgin Islands and was operating a vessel within the Territorial waters
                                                      -5-

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 1 of the United States Virgin Islands, and more specifically, the Territorial waters north and east

 2 of St. John.

 3          24.    On or about December 1, 2007, at or near 9:00 p.m., plaintiff, CYRIL

 4 RICHARDSON, along with 5 other persons, were passengers on a 26 foot fiberglass power boat,

 5 registration number VI9653TA and registered as the M/V “Guilt Trip”, which was owned and

 6 operated by Ryan Uszenski.

 7          25.    At all times herein mentioned, the M/V “Guilt Trip” was operating with the

 8 Territorial waters of the United States Virgin Islands. While within the territorial waters of the

 9 United States Virgin Islands, and specifically within 1 nautical mile due north of Flanagan Island,
10 and at or near 9:14 pm, the M/V “Guilt Trip” was stopped by defendant RANDY DONOVAN

11 acting as a Servant of the Crown of the Government of the British Virgin Islands.

12          26.    At that time and place, defendant, RANDY DONOVAN, ordered plaintiff, CYRIL

13 RICHARDSON and the five other passengers into a 28 foot Wellcraft Scarab, owned by the

14 Government of the British Virgin Islands, under the guise that the M/V “Guilt Trip” was within

15 the waters of the British Virgin Islands. Plaintiff, along with the other passengers, complied with

16 the orders of defendant, RANDY DONOVAN, even though the M/V “Guilt Trip” had not left

17 the Territorial waters of the United States Virgin Islands. Defendant, RANDY DONOVAN,

18 ordered Ryan Uszenski and another currently unidentified British Virgin Islands customs officer,

19 to remain in the M/V “Guilt Trip”. The unidentified customs officer took control of the M/V
20 “Guilt Trip”.

21          27.    Once all the passengers were in the 27 foot Wellcraft Scarab, defendant, RANDY

22 DONOVAN, began to throttle up the engines of his vessel. At this time, there were 7 persons on

23 the Wellcraft Scarab and the vessel was not getting up on plane. Defendant, RANDY

24 DONOVAN, began to trim the engines and was looking to the stern of the vessel while he was

25 throttling up the vessel.

26          28.    During the time that defendant, RANDY DONOVAN, was throttling up the vessel,

27 defendant was not maintaining a proper look out as required by 33 U.S.C. §§ 1601-1608 (Rule

28 5 - look out); was not maintaining a safe speed as required by 33 U.S.C. §§ 1601-1608 (Rule 6 -
                                                      -6-

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 1 safe speed); failed to use all available means appropriate to the prevailing circumstances to avoid

 2 a risk of collision as required by 33 U.S.C. §§ 1601-1608 (Rule 7 - risk of collision); failed to

 3 take action to avoid the risk of collision 33 U.S.C. §§ 1601-1608 (Rule 8 - action to avoid risk

 4 of collision); failed to following the crossing situation rules as required by 33 U.S.C. §§ 1601-

 5 1608 (Rule 15- crossing situation); failed to take appropriate action by give way vessel as required

 6 by 33 U.S.C. §§ 1601-1608 (Rule 16 - action by give way vessel); failed to take appropriate

 7 responsibility between vessels as required by 33 U.S.C. §§ 1601-1608 (Rule 18 - responsibilities

 8 between vessels).

 9          29.     The conduct of defendant, RANDY DONOVAN, in acting as a Servant of the

10 Crown of the British Virgin Islands and in operating a vessel owned by the Government of the

11 British Virgin Islands was negligent and careless and resulted in substantial injuries to plaintiff,

12 CYRIL RICHARDSON, as herein alleged.

13          30.     As a direct and proximate result of the negligence and carelessness of defendants,

14 RANDY DONOVAN and THE ATTORNEY GENERAL OF THE BRITISH VIRGIN ISLANDS,

15 the vessel operated by RANDY DONOVAN and owned by the Government of the Virgin Islands

16 collided with the stern of the M/V “Guilt Trip”, resulting in plaintiff, CYRIL RICHARDSON,

17 being thrown forward and sustaining serious personal injuries and damages.

18          31.     Plaintiff is informed and believes, and based thereupon alleges, that defendants

19 were negligent and careless in the use and operation of their vessel in that defendants failed to use
20 that degree of skill and prudence as a reasonable captain, as set forth above, and that as a direct

21 and proximate result of defendants negligence and carelessness, plaintiff sustained injuries and

22 damages.

23          32.   Plaintiff is further informed and believes, and based thereupon alleges, that a direct

24 and proximate cause of plaintiff' s injuries was the negligence and carelessness of defendants, and

25 each of them, in the use and operation of their vessel within the Territorial waters of the United

26 States Virgin Islands.

27          33.     As a direct and proximate result of the negligence of defendant, as hereinabove

28 alleged, plaintiff, CYRIL RICHARDSON, was hurt and injured in his health, strength and
                                                       -7-

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 1 activity, in all parts of his body, and sustained shock and injury to his nervous system and person,

 2 all of which injuries have caused and continue to cause plaintiff great mental, physical and

 3 nervous anxiety, and pain and suffering. Plaintiff, CYRIL RICHARDSON, is informed and

 4 believes and thereon alleges, that these injuries will result in some permanent disability to

 5 plaintiff, all to his general damage, in an amount to be proven at time of trial.

 6          34.      As a further direct and proximate result of the negligence of defendant as

 7 hereinabove alleged, plaintiff, CYRIL RICHARDSON, was required to, and did, employ

 8 physicians, surgeons and therapists to treat and care for him, and did sustain expenses for such

 9 medical treatment and care, hospitalization, medicine, and for other and further medical and
10 incidental care, for which plaintiff has incurred liability in an amount as yet unascertained.

11 Plaintiff, CYRIL RICHARDSON, prays leave of Court to amend and/or supplement this

12 Complaint to insert the actual and reasonable value of all medical and incidental expenses when

13 same have been ascertained, or to prove same at time of trial.

14          35.    Plaintiff, CYRIL RICHARDSON, is informed and believes, and based thereupon

15 alleges, that as a further direct and proximate result of the negligence of defendant, as hereinabove

16 alleged, he will necessarily require additional medical care, hospitalization, medicines, and other

17 and further medical attention in the future and will incur liability therefrom. Plaintiff, CYRIL

18 RICHARDSON, prays leave of Court to amend and/or supplement this Complaint to insert the

19 actual and reasonable value of all such additional medical and incidental expenses when same have
20 been ascertained, or to prove same at time of trial.

21          36.     As a further direct and proximate result of the negligence of defendant, as

22 hereinabove alleged, plaintiff, CYRIL RICHARDSON, became incapacitated and was prevented

23 from following his usual occupation for an undetermined period of time; and as a result thereof,

24 plaintiff suffered a loss of earnings and earning capacity and ability and other financial losses in

25 an undetermined amount. Plaintiff, CYRIL RICHARDSON, prays leave of Court to amend

26 and/or supplement this Complaint to include the exact amount of said loss of earnings and earning

27 capacity and ability when ascertained, or to prove same at time of trial.

28 / / /
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 1         WHEREFORE, plaintiffs pray judgment against defendants, and each of the, as follows:

 2         1.      For general damages, all in an amount to be proven at the time of trial;

 3         2.      For medical and related expenses, past, present and future, all in an amount to be

 4 proven at the time of trial;

 5         3.      For loss of earnings or earning ability, past, present and future, all in an amount

 6 to be proven at the time of trial;

 7         4.      For costs of suit incurred herein; and

 8         5.      For such other and further relief as this Court deems just and proper.

 9 Dated : November 15, 2008                       LAW OFFICES OF FRIEDBERG & BUNGE

10

11                                                 By: s /THOMAS F. FRIEDBERG, ESQ.
                                                     THOMAS F. FRIEDBERG, ESQ. (VI # 1006)
12                                                   Attorneys for Plaintiff, MEAGHAN
                                                     RICHARDSON, CYRIL RICHARDSON
13                                                   610 West Ash Street, Suite 1400
                                                     P.O. Box 6814
14                                                   San Diego, California 92101
                                                     TEL : (619)557-0101
15                                                   FAX: (619)557-0560
                                                     “tom@lawofficefb.com”
16
                                         DEMAND FOR JURY
17
           Plaintiffs hereby demand a jury trial pursuant to Rule 38, of the Federal Rules of Practice.
18

19 Dated : November 15, 2008                       LAW OFFICES OF FRIEDBERG & BUNGE

20

21                                                 By: s/ THOMAS F. FRIEDBERG, ESQ.
                                                     THOMAS F. FRIEDBERG, ESQ. (VI # 1006)
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26

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